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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

PES HOLDINGS, LLC, et al., Case No. 19-11626 (KG)

Debtors. (Jointly Administered)

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STIPULATION AND AGREED ORDER REGARDING
ADVANCE OF JUNE 21 PD INSURANCE PROCEEDS

 

 

The above-captioned debtors and debtors in possession (collectively, the “Debtors”’), ICBC
Standard Bank PLC (“ICBCS”), and the members of ad hoc group of lenders under the Existing
Term Loan Credit Agreement and the DIP Credit Agreement that constitute, respectively the
Required Lenders and the Required DIP Lenders under the DIP Credit Agreement (the “Ad Hoc
Term Loan Lenders” and, together with the Debtors and ICBCS, the “Parties”’), through their
undersigned counsel, hereby enter into this stipulation and agreed order (this “Stipulation and
Order’’).?

WHEREAS, on July 21, 2019 (the “Petition Date”), each of the Debtors filed a petition
with the United States Bankruptcy Court for the District of Delaware (the “Court’”) under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtors continue
to operate their business and manage their properties as debtors and debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code. On July 23, 2019, the Court entered an

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.

Capitalized terms used but not otherwise defined shall have the meaning ascribed to them in the DIP Motion or
DIP Orders (each as defined herein), as applicable.

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order [Docket No. 72] authorizing the joint administration and procedural consolidation of the
chapter 11 cases pursuant to rule 1015(b) of the Federal Rules of Bankruptcy Procedure. No party
has requested the appointment of a trustee or examiner in these chapter 11 cases. On August 5,
2019, the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an
official committee of unsecured creditors pursuant to section 1102 of the Bankruptcy Code
[Docket No. 152].

WHEREAS, on July 22, 2019, the Debtors filed the Debtors’ Motion for Entry of Interim
and Final Orders (I) Authorizing Debtors to (A) Obtain Post-Petition Financing Pursuant to
11US.C. $$ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2), 364(c)(3), 364(a)(1) and 364(e) and
(B) Utilize Cash Collateral Pursuant to 11 U.S.C. § 363, (I) Granting Adequate Protection to
Prepetition Secured Parties Pursuant to 11 U.S.C. §$ 361, 362, 363, 364 and 507(b) and
(II) Scheduling Final Hearing Pursuant to Bankruptcy Rules 4001(b) and (c) [Docket No. 37]
(the “DIP Motion”).

WHEREAS, on July 23, 2019, the Court entered an order approving the DIP Motion on
an interim basis [Docket No. 85] (the “Interim DIP Order”).

WHEREAS, a hearing (the “Final DIP Hearing’’) to consider approval of the DIP Motion
on a final basis is currently scheduled to be held on September 24, 2019.

WHEREAS, the Debtors are seeking recovery of proceeds of any claim under the Debtors’
property damage and business interruption insurance policies relating directly or indirectly to the
incident that occurred at the Debtors’ refinery complex on June 21, 2019 (such proceeds, with
respect to coverage for property damage, the “June 21 PD Insurance Proceeds,” and with respect
to coverage for business interruption, the “June 21 BI Insurance Proceeds”), including, without

limitation, the 2018PESPROP policy form with effective dates of November 1, 2018 through

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November 1, 2019 (each a “Commercial Property Coverage Policy” and together, the

 

“Commercial Property Coverage Policies”) to insure a portion of the Debtors’ coverage for
property damage and business interruption losses during such period.

WHEREAS, certain insurers, each of which subscribed to the Commercial Property
Coverage Policies (the “Insurers”), have expressed willingness to make an initial advance payment
of $50 million against the June 21 PD Insurance Proceeds (the “June 21 PD Insurance Proceeds
Advance’’).

WHEREAS, the Parties desire to facilitate the payment of such June 21 PD Insurance
Proceeds Advance by entering into this Stipulation and Order in advance of the Final DIP Hearing.

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among
the Parties, which agreement, upon approval and entry by the Court, shall constitute an order of
the Court, as follows:

1. Notwithstanding any provision to the contrary in any Commercial Property
Coverage Policy, the Interim DIP Order, the order of the Court granting the DIP Motion on a final
basis (the “Final DIP Order,” and together with the Interim DIP Order, as applicable,
the “DIP Orders”), or any other agreement, document, or applicable law, any payment of the June
21 PD Insurance Proceeds Advance under the Commercial Property Coverage Policies, which for
the avoidance of doubt may be disbursed to the Debtors in multiple installments, shall (a) be paid
directly and solely to the Debtor(s) named as an insured under the applicable Commercial Property
Coverage Policy, and (b) be treated and used solely in accordance with the DIP Orders and the
Approved Budget. All rights are expressly reserved in full by all Parties concerning any further

advance against the Commercial Property Coverage Policies.

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2. Any payment of the June 21 PD Insurance Proceeds Advance shall serve to erode
the available coverage limits under the applicable Commercial Property Coverage Policies to the
extent of such payment. The insurers under the applicable Commercial Property Coverage Policies
shall not have duplicate liability to the Debtors or any other person or entity with respect to all or
any portion of the June 21 PD Insurance Proceeds Advance actually made once it is made.

3. Nothing herein or in the DIP Orders shall be construed to require any advance,
payment, or distribution under any of the Commercial Property Coverage Policies, and except as
expressly set forth herein, nothing in the DIP Orders or this Stipulation and Order alters or modifies
the terms and conditions of any Commercial Property Coverage Policies or related agreements.
Notwithstanding any contrary provision of the DIP Orders or this Stipulation and Order, except as
expressly set forth herein, the rights, claims, and defenses of the parties to the Commercial Property
Coverage Policies are expressly preserved in full.

4, ICBCS and the Ad Hoc Term Loan Lenders expressly consent to the entry of this
Stipulation and Order; provided that nothing in this Stipulation and Order shall constitute or be
deemed to constitute a consent, waiver or other modification of any of the DIP Secured Parties’,
Existing Term Loan Secured Parties’, or ICBCS’s rights under the DIP Documents, the Existing
Term Loan Documents, the DIP Orders, the SOA Transaction Documents, or under bankruptcy or
applicable law, including without limitation, with respect to diminution in value of any Collateral,
Prepetition Term Loan Collateral, SOA Priority Collateral, or Prepetition SOA Collateral resulting
from the use or other disposition of the Initial June 21 PD Insurance Proceeds Advance and all of
the DIP Secured Parties’, Existing Term Loan Secured Parties’, and ICBCS’s rights in connection

therewith are hereby expressly preserved; provided, further, that nothing in the Stipulation and

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Order shall in any way impair the Debtors’ rights as provided in the DIP Orders or under
bankruptcy or applicable law.

5. This Stipulation and Order shall have no effect on the June 21 BI Insurance
Proceeds or advance payments thereof, or on any advance, payment, or disbursement of the June
21 PD Insurance Proceeds other than the June 21 PD Insurance Proceeds Advance, and all rights
of the Parties with respect thereto are expressly preserved in full.

6. This Stipulation and Order shall be binding on and inure to the benefit of the Parties
hereto and their respective successors and assigns.

7. The Parties are authorized to take all actions necessary to effectuate the relief
provided by this Stipulation and Order.

8. The terms and conditions of this Stipulation and Order shall be immediately
effective and enforceable upon its approval and entry by the Court.

9, This Stipulation and Order shall not be modified, altered, amended, or vacated
without written consent of all Parties hereto. Any such modification, alteration, amendment, or
vacation, in whole or in part, shall be subject to the approval of the Court.

10. The undersigned counsel hereby represent and warrant that they have full authority
to execute this Stipulation and Order on behalf of the respective Parties and that the respective
Parties have full knowledge of, and have consented to, this Stipulation and Order.

11, This Stipulation and Order may be executed in multiple counterparts, any of which
may be transmitted by facsimile or electronic mail, and each of which shall be deemed an original,
but all of which together shall constitute one instrument.

12. The Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and enforcement of this Stipulation and Order, and

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the Parties hereby consent to such jurisdiction to resolve any disputes or controversies arising from

or related to this Stipulation and Order.

SO ORDERED this tet Yiay of
, 2019

    

THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE

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AGREED AND SUBMITTED BY:

Dated: September 13, 2019
Wilmington, Delaware

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/s/ Laura Davis Jones

 

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AGREED AND SUBMITTED BY:

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AGREED AND SUBMITTED BY:

Dated: September 13, 2019
New York, New York

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